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13
                                UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16

17
   IN RE GOOGLE PLAY STORE
18 ANTITRUST LITIGATION                              Case No. 3:21-md-02981-JD

19 THIS DOCUMENT RELATES TO                          ADMINISTRATIVE MOTION TO
                                                     CONSIDER WHETHER CASES SHOULD
20 Hurley v. Google LLC, et al.,                     BE RELATED
   Case No. 5:25-cv-00883
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                          ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES
                                         SHOULD BE RELATED
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 1          Pursuant to Civil Loval Rule 3-12, Plaintiff Connor Hurley respectfully moves this Court to

 2 consider whether his recently filed case, Hurley v. Google LLC et al., No. 5:25-cv-00883 (filed Jan.

 3 27, 2025) (“Hurley”), should be deemed related to each of the following cases (collectively the

 4 “Google Play Store Actions”), all of which have been transferred into In Re Google Play Store

 5 Antitrust Litigation, 3:21-md-2981 (“MDL No. 2981”):

 6                            Case Name                                           Case No.
 7    Epic Games, Inc. v. Google LLC, et al.                         C.A. No. 3:20-05671
 8    In re Google Play Consumer Antitrust Litigation                C.A. No. 3:20-05671
 9    In re Google Play Developer Antitrust Litigation               C.A. No. 3:20-05792
10    Peekya Services, Inc. v. Google LLC, et al.                    C.A. No. 3:20-06772
11    Bentley, et al. v. Google LLC, et al.                          C.A. No. 3:20-07079
12    McNamara v. Google LLC, et al.                                 C.A. No. 3:20-07361
13    Herrera v. Google LLC                                          C.A. No. 3:20-07365
14    Carroll v. Google LLC                                          C.A. No. 3:20-07379
15    Paige v. Google LLC, et al.                                    C.A. No. 1:20-03158
16

17 I.       RELEVANT BACKGROUND
18          Hurley is an action on behalf of Canadian consumers for, inter alia, violations of Sections
19 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2, violations of California’s Cartwright Act, Cal. Bus.

20 & Prof. Code §§ 16700 et seq., and violations of California’s Unfair Competition Law, Cal. Bus.

21 & Prof. Code §§ 17200 et seq.

22 II.      LEGAL STANDARD FOR RELATING CASES
23          “Whenever a party knows or learns that an action, filed in or removed to this district is (or
24 the party believes that the action may be) related to an action which is or was pending in this District

25 as defined in Civil L.R. 3-12(a), the party must promptly file in the lowest-numbered case an

26 Administrative Motion to Consider Whether Cases Should be Related, pursuant to Civil L.R. 7-11.”

27 Civil L.R. 3-12(b). Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) [t]he

28 actions concern substantially the same parties, property, transaction, or event; and (2) [i]t appears
                                                       1
                           ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES
                                          SHOULD BE RELATED
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 1 likely that there will be an unduly burdensome duplication of labor and expense or conflicting results

 2 if the cases are conducted before different Judges.” Civil L.R. 3-12(a).

 3 III.     THE ACTIONS SHOULD BE RELATED

 4          Regarding the criteria set forth in Civil L.R. 3-12(a), Hurley involves common defendants

 5 with the Google Play Store Actions, namely, Google LLC, Google Payment Corp., and Alphabet

 6 Inc.

 7          Despite involving the effects of Google’s conduct on Canadian consumers, Hurley will

 8 nevertheless present issues that are common to the other Google Play Store Actions, such that

 9 duplication of labor and potentially conflicting results may be avoided by assigning Hurley to the

10 Honorable James Donato who presides over MDL No. 2981. By way of example only, Hurley and

11 each of the Google Play Store Actions present the following common issues:

12             Google’s worldwide practices with respect to the distribution of apps on mobile devices,
13              such as smartphones, that are compatible with the Android mobile operating system;

14             The effect on competition by Google’s anti-competitive practices, including Google’s
15              alleged imposition of anti-competitive contractual terms on mobile device

16              manufacturers, mobile network operators, and app developers;

17             Google’s alleged tying of its in-app payment processing service, Google Play Billing, to
18              the use of Google’s app distribution platform, the Google Play Store; and

19             The anticompetitive friction imposed by Google on users who download apps from the
20              web or from third-party stores and the pretextual claims that such friction is necessary to

21              address security concerns.

22 IV.      STATEMENT REGARDING STIPULATION

23          Pursuant to N.D. Cal. L.R. 7-11, counsel for Plaintiff Connor Hurley has conferred with

24 counsel for Google LLC (and its affiliates that are defendants) (collectively, “Google”), and Google

25 has stated that it will not oppose this motion. A Proposed Order has been submitted concurrently

26 with this motion.

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 1 V.       CONCLUSION

 2          Based on the foregoing, Plaintiff Connor Hurley respectfully requests that this Court enter

 3 an order relating Case No. 5:25-cv-00883 to the Google Play Store Actions in MDL No. 2981.

 4

 5      Dated: February 4, 2025                          Respectfully submitted,

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